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 8   Attorneys for Defendant,
 9   PARTY CITY HOLDCO INC.
10                       UNITED STATES DISTRICT COURT
11
                        SOUTHERN DISTRICT OF CALIFORNIA
12
13
                                        )
14   LUXOTTICA GROUP S.P.A., an         )   Civil Case No. 15 CV 1739 AJB DHB
15   Italian corporation,               )
                                        )   DEFENDANT PARTY CITY
16         Plaintiff,                   )   HOLDCO INC.’S ANSWER TO THE
17                                      )   COMPLAINT
              v.                        )
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                                        )
19   PARTY CITY HOLDCO INC., a          )
     Delaware corporation; and DOES 1   )
20
     through 10, inclusive              )
21                                      )
22         Defendant.                   )
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                                                         Case No. 3:15-cv-1739-BEN-BLM
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 1         Defendants PARTY CITY HOLDCO, INC. “Party City”) hereby answers
 2   the Complaint of LUXOTTICA GROUP S.P.A. (“Luxottica”):
 3                                         PARTIES
 4         1.     Defendant lacks knowledge or information sufficient to form a belief
 5   as to the truth of the allegations in paragraph 1, and on that basis denies them.
 6         2.     Admit.
 7         3.     Denied.
 8                             JURISDICTION AND VENUE
 9         4.     Defendant admits the Complaint purports to allege claims under the
10   Lanham act and California law. Defendant denies plaintiff is entitled to any relief.
11         5.     Defendant admits the Court has subject matter jurisdiction over this
12   action. Defendant denies the remainder of this paragraph.
13         6.     Denied.
14         7.     Denied.
15                              GENERAL ALLEGATIONS
16         8.     Defendant lacks knowledge or information sufficient to form a belief
17   as to the truth of the allegations in paragraph 8, and on that basis, denies them.
18         9.     Defendant lacks knowledge or information sufficient to form a belief
19   as to the truth of the allegations in paragraph 9, and on that basis, denies them.
20         10.    Denied.
21         11.    Defendant lacks knowledge or information sufficient to form a belief
22   as to the truth of the allegations in paragraph 11, and on that basis denies them.
23         12.    Defendant admits U.S. Trademark Registration No. 595,513 purports
24   to be registered with the U.S.P.T.O on September 21, 1954 in association with
25   sunglasses. Defendant admits Exhibit A speaks for itself.
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 1         13.    Defendant admits selling goods using the word “wayfarer”.
 2   Defendant denies plaintiff’s trademark is valid. Defendant denies it requires
 3   plaintiff’s permission or consent to offer for sale, distribute, market, or sell any
 4   goods and the remainder of this paragraph.
 5         14.    The Party City Defendants lack knowledge or information sufficient
 6   to form a belief as to the truth of the allegations in paragraph 14, and on that basis
 7   denies them. Defendant denies that its use of the term “wayfarer” is infringing.
 8         15.    Denied.
 9         16.    Denied.
10         17.    Denied.
11         18.    Denied.
12         19.    Defendant denies it requires plaintiff’s authority to use or display any
13   trademark for any goods.
14         20.    Denied.
15         21.    Denied.
16                              FIRST CLAIM FOR RELIEF
17         22.    Defendant incorporates by this references all responses stated in
18   paragraphs 1-22.
19         23.    Defendant admits the Complaint purports to allege a claim for
20   trademark infringement. Defendant denies plaintiff is entitled to any relief.
21         24.    Denied.
22         25.    Denied.
23         26.    Denied.
24         27.    Denied.
25         28.    Denied.
26         29.    Denied.
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 1                               SECOND CLAIM FOR RELIEF
 2          30.       Defendant incorporates by this references all responses stated in
 3   paragraphs 1-22.
 4          31.       Defendant admits the Complaint purports to allege a claim for unfair
 5   competition and false designation of origin. Defendant denies plaintiff is entitled
 6   to any relief.
 7          32.       Denied.
 8          33.       Denied.
 9          34.       Denied.
10          35.       Denied.
11          36.       Denied.
12                                  THIRD CLAIM FOR RELIEF
13          37.        Defendant incorporates by this references all responses stated in
14   paragraphs 1-37.
15          38.       Defendant admits the Complaint purports to allege a claim for federal
16   trademark dilution. Defendant denies plaintiff is entitled to any relief.
17          39.       Denied.
18          40.       Denied.
19          41.       Denied.
20          42.       Denied.
21          43.       Denied.
22          44.       Denied.
23          45.       Denied.
24          46.       Denied.
25                                 FOURTH CLAIM FOR RELIEF
26          47.        Defendant incorporates by this references all responses stated in
27   paragraphs 1-47.
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 1          48.     Defendant admits the Complaint purports to allege a claim for
 2   California common law trademark infringement. Defendant denies plaintiff is
 3   entitled to any relief.
 4          49.     Denied.
 5          50.     Denied.
 6          51.     Denied.
 7          52.     Denied.
 8                               FIFTH CLAIM FOR RELIEF
 9           (Unfair Competition−Cal. Bus. & Prof. Code § 17200, et seq.)
10          53.      Defendant incorporates by this references all responses stated in
11   paragraphs 1-53.
12          54.     Defendant admits the Complaint purports to allege a claim for
13   California unfair competition. Defendant denies plaintiff is entitled to any relief.
14          55.     Denied.
15          56.     Denied.
16          57.     Denied.
17                                AFFIRMATIVE DEFENSES
18                             First Affirmative Defense: Invalidity
19          1.      Plaintiff’s trademark and registration is invalid.
20                    Second Affirmative Defense: Estoppel and Laches
21          2.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of
22   laches, the doctrine of estoppel, and other equitable defenses. On information and
23   belief, defendant alleges plaintiff was aware of defendant’s actions and failed to
24   take action.
25                       Third Affirmative Defense: Unclean Hands
26          3.      The purported claims alleged in the Complaint are barred, in whole
27   or in part, by the doctrine of unclean hands. Defendant alleges plaintiff’s claim of
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 1   trademark rights is invalid and unenforceable and maintenance of plaintiff’s
 2   registration is inequitable.
 3                  Fourth Affirmative Defense: Waiver/Acquiescence
 4          4.    The purported claims alleged in the Complaint are barred, in whole
 5   or in part, because plaintiff, by its acts, omissions and delay, and those of its
 6   agents, waived or acquiesced to any claims or causes of action against defendant.
 7                           Fifth Affirmative Defense: Standing
 8          5.    Plaintiff lack standing to sue for trademark infringement and related
 9   claims. Defendant alleges that plaintiff is not a valid assignee of any purported
10   trademark rights.
11                           Sixth Affirmative Defense: Fair Use
12          6.    The alleged infringement of plaintiff’s purported rights, if any, is
13   protected by the fair use doctrine.
14                  Seventh Affirmative Defense: Lawful Competition
15          7.    Plaintiff’s claims fail, in whole or in part, because the alleged conduct
16   concerns lawful competition that was privileged and/or justified.
17                   Eighth Affirmative Defense: Statute of Limitation
18          8.    Plaintiff’s claims and/or damages are barred, in whole or part, by the
19   applicable statutes of limitation.
20                            Reservation of Additional Defenses
21          Defendant reserves all affirmative defenses available under Rule 8(c) and
22   Rule 12 of the Federal Rules of Civil Procedure, and any other defenses, at law or in
23   equity, that may be available now or may become available in the future based on
24   discovery or any other factual investigation in this case, or that may be asserted by
25   plaintiff.
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 1                                 PRAYER FOR RELIEF
 2          WHEREFORE, defendant requests entry of judgment in its favor and against
 3   plaintiff as follows:
 4             a. Denying all relief sought by plaintiff in the Complaint;
 5             b. Declaring the action to be exceptional and awarding defendant its
 6                 attorneys’ fees pursuant to 15 U.S.C. §1117 or other related law;
 7             c. Declaring all plaintiff’s trademarks invalid and unenforceable; and
 8             d. such other relief as the Court deems just and appropriate.
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10
11   Dated: January 6, 2016           MANDOUR & ASSOCIATES, APC
12
13                                          /s/ Ben T. Lila
14                                    Ben T. Lila (SBN 246808)
                                      Email: blila@mandourlaw.com
15
                                      Attorneys for Defendant,
16                                    PARTY CITY HOLDCO, INC.
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 1                                  JURY DEMAND
 2        Defendant demands a trial by jury of all issues so triable.
 3
 4   Dated: January 13, 2016               MANDOUR & ASSOCIATES, APC
 5
 6                                               s/ Ben T. Lila
                                           Ben T. Lila
 7                                         Attorneys for Defendant,
 8
                                           PARTY CITY HOLDCO, INC.

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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on the below date, I filed the foregoing document via
 3   the Court’s CM/ECF Filing System, which will serve electronic notice of the same
 4   on the following:
 5
 6
 7   Dated: January 13, 2016                      /s Ben T. Lila
 8                                                Ben T. Lila
                                                  Email: blila@mandourlaw.com
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